Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 1 of 6
                                               EXHIBIT 4
Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 2 of 6




      STATE OF TEXAS                               s
                                                   8
                                                   8
                                                   8
      COUNTY OF MONTGOMERY                         8

     A TRACT OR PARCEL OF LAND CONTAINING 72.9553 ACRES,
                                                            (3,177,934 SQUARE FEET),
     SITUATED IN THE MATTHEW CARTWRIGHT SURVEY, ABSTRA
                                                           CT NUMBER 151, AND THE
     ARCHIBALD HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY
                                                               COUNTY, TEXAS, SAID
     72 9553 ACRE TRACT OF LAND BEING THAT CERTAIN CALLED
                                                             72.9553 ACRE TRACT OF
     LAND AS CONVEYED TO ERIC C. OSTRANDER AND WIFE, DARLA
     INSTRUMENT RECORDED IN DOCUMENT NO 2009-064117                   OSTRANDER BY
                                                          OF THE OFFICIAL PUBLIC
     RECORDS OF MONTGOMERY COUNTY, TEXAS, AND BEING
                                                              MORE PARTICULARLY
     DESCRIBED BY METES AND BOUNDS AS FOLLOWS: (BEARING BASIS:
     064117 OF THE OFFICIAL PUBLIC RECORDS OF MONTG
                                                                 DOCUMENT NO. 2009-
                                                    OMERY COUNTY, TEXAS)
     BEGINNING at a 5/8” iron rod found on the north line of that certain
                                                                          called 67.452 acre tract of land as
     conveyed to Montgomery Trace Property Owners Associati by
                                                              on     instrument recorded in Document No
     2010-007229 of the Official Public Records of Montgomery County, Texas,
                                                                                for a corner of Woodforest,
     Section 29, a subdivision in Montgomery County, Texas, according to the
                                                                             map or plat thereof recorded in
     Cabinet Z, Sheet 2438, of the Map Records of Montgomery County, Texas,
                                                                                  same being the southeast
     corner and the POINT OF BEGINNING of the herein described tract;

      I’hence, N 89°45’07” W, along the north line of said 67 452 Acre Tract,
                                                                                a distance of 1,348 18 feet to a
     capped, (Precision Surveyors), iron rod set for the northwest comer of
                                                                            said 67.452 Acre Tract, same being
     the northeast comer of Lot 30, Block 1, Montgomery Trace, Section 4,
                                                                                  a subdivision in Montgomery
     County, Texas, according to the map or plat thereof recorded in Cabinet
                                                                              J, Sheet 131, of the Map Records
     of Montgomery County, Texas, same being a corner of the herein described
                                                                                 tract;
    Thence, N 89°49’39” W, along the north line of said Montgomery Trace,
                                                                                 Section 4, pass at a distance of
    2438.43 feet an iron rod found for reference at the northwest comer of
                                                                             Lot 1, Block 1, of said Montgomery
    Trace, Section 4, pass at a distance of 2448.64 feet the east line of Honea
                                                                                Egypt Road, a 60 foot wide road
    easement, and continuing for a total distance of 2478 64 feet to a point
                                                                               on the centerline of Honea Egypt
    Road for the southwest corner of the herein described tract;

    Thence, N 03°40’36” W, along the centerline of Honea Egypt Road,
                                                                       a distance of 119.01 feet to a P K.
    Nail set for an angle point in the centerline of Honea Egypt Road,
                                                                       same being a corner of the herein
    described tract;

    Thence, N 05°23’38” W, along the centerline of Honea Egypt Road,
                                                                     a distance of 470.21 feet to the point
    of curvature of a curve to the left;

    Thence, Northwesterly, along the centerline of Honea Egypt Road, with
                                                                               the arc of said curve to the left,
    having an included angle of 21°27’01”, a radius of 231.06 feet,
                                                                    a chord that bears, N 16°07’08” W, a chord
    distance of 86.00 feet, for an arc length of 86.50 feet to a point for the
                                                                               southwest comer of that certain
    called 10.0 acre tract of land as conveyed to The Cathedral of Our
                                                                           Lady of Walsingham by instrument
    recorded in Document No. 2019-065917 of the Official Public Records
                                                                               of Montgomery County, Texas,
    same being the northwest corner of the herein described tract;

   Thence, N 85°42’15" E, in part along the common line of said 10.0 Acre
                                                                                  Tract, the common line of that
   certain called 13.3145 acre tract of land as conveyed to The Cathedra
                                                                              l of Our Lady of Walsingham by
   instrument recorded in Document No. 2019-065917 of the Official Public
                                                                                Records of Montgomery County,
   Texas and the common line of that certain called 16 018 acre tract of land conveyed
                                                                                as            to Justin Hasara and
   Ector Barrera by instrument recorded in Document No. 2013036026
                                                                             of the Official Public Records of
   Montgomery County, Texas, pass at a distance of 32.17 feet an iron
                                                                         rod found for reference on the east line
   of said Honea Egypt Road, and continuing for a total distance of 3,9 15 9 1 feet to
                                                                                       a 14” iron rod found on the
   west line of the aforementioned Woodforest, Section 29, for the southeas
                                                                              t corner of said 16.018 Acre Tract,
   same being the northeast comer of the herein described tract;

   Thence, S 00°08’28” E, along the west line of said Woodforest, Section
                                                                          29, a distance of 976.15 feet to the
   POINT OF BEGINNING and containing 72 9553 acres or 3,177,934 square
                                                                              feet of land, more or less.

                                                           James E. Moseley
                                                           Registered Professional Land Surveyor,
                                                           No. 5912
                                                           Job No. 22-00902
                                                           March 1,2022




      See Drawing Attached
Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 3 of 6
Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 4 of 6



     STATE OF TEXAS                              «§
                                                 5
                                                 S
     COUNTY OF MONTGOMERY                        <
     A TRACT OR PARCEL OF LAND CONTAINING 72 9553 ACRES, (3,177,934 SQUARE FEET),
     SITUATED IN THE MATTHEW CARTWRIGHT SURVEY, ABSTRACT NUMBER 151, AND THE
     ARCHIBALD HODGE SURVEY, ABSTRACT NO. 1 8, MONTGOMERY COUNTY, TEXAS, SAID
     72 9553 ACRE TRACT OF LAND BEING THAT CERTAIN CALLED 72.9553 ACRE TRACT OF
     LAND AS CONVEYED TO ERIC C. OSTRANDER AND WIFE, DARLA OSTRANDER BY
     INSTRUMENT RECORDED IN DOCUMENT NO. 2009-064117 OF THE OFFICIAL PUBLIC
     RECORDS OF MONTGOMERY COUNTY, TEXAS, AND BEING MORE PARTICULARLY
     DESCRIBED BY METES AND BOUNDS AS FOLLOWS: (BEARING BASIS: DOCUMENT NO 2009-
     064117 OF THE OFFICIAL PUBLIC RECORDS OF MONTGOMERY COUNTY, TEXAS)

     BEGINNING at a 5/8” iron rod found on the north line of that certain called 67.452 acre tract of land as
     conveyed to Montgomery Trace Property Owners Association by instrument recorded in Document No.
     2010-007229 of the Official Public Records of Montgomery County, Texas, for a corner of Woodforest,
     Section 29, a subdivision in Montgomery County, Texas, according to the map or plat thereof recorded in
     Cabinet Z, Sheet 2438, of the Map Records of Montgomery County, Texas, same being the southeast
     comer and the POINT OF BEGINNING of the herein described tract;

     Thence, N 89°45’07” W, along the north line of said 67 452 Acre Tract, a distance of 1,348.18 feet to a
     capped, (Precision Surveyors), iron rod set for the northwest comer of said 67.452 Acre Tract, same being
     the northeast comer of Lot 30, Block 1, Montgomery Trace, Section 4, a subdivision in Montgomery
     County, Texas, according to the map or plat thereof recorded in Cabinet J, Sheet 131, of the Map Records
     of Montgomery County, Texas, same being a corner of the herein described tract;

     Thence, N 89°49’39” W, along the north line of said Montgomery Trace, Section 4, pass at a distance of
     2438.43 feet an iron rod found for reference at the northwest comer of Lot 1 , Block 1 , of said Montgomery
     Trace, Section 4, pass at a distance of 2448.64 feet the east line of Honea Egypt Road, a 60 foot wide road
     easement, and continuing for a total distance of 2478 64 feet to a point on the centerline of Honea Egypt
     Road for the southwest corner of the herein described tract;

     Thence, N 03°40’36” W, along the centerline of Honea Egypt Road, a distance of 1 19.01 feet to a P. K.
     Nail set for an angle point in the centerline of Honea Egypt Road, same being a corner of the herein
     described tract;

     Thence, N 05°23’38” W, along the centerline of Honea Egypt Road, a distance of 470.21 feet to the point
     of curvature of a curve to the left;

     Thence, Northwesterly, along the centerline of Honea Egypt Road, with the arc of said curve to the left,
     having an included angle of21°27’01”, a radius of 231 06 feet, a chord that bears, N 16°07’08” W, a chord
     distance of 86.00 feet, for an arc length of 86.50 feet to a point for the southwest comer of that certain
     called 10.0 acre tract of land as conveyed to The Cathedral of Our Lady of Walsingham by instrument
     recorded in Document No. 2019-065917 of the Official Public Records of Montgomery County, Texas,
     same being the northwest corner of the herein described tract;

     Thence, N 85°42’15” E, in part along the common line of said 10.0 Acre Tract, the common line of that
     certain called 13 3145 acre tract of land as conveyed to The Cathedral of Our Lady of Walsingham by
     instrument recorded in Document No. 2019-065917 of the Official Public Records of Montgomery County,
     Texas and the common line of that certain called 16 018 acre tract of land as conveyed to Justin Hasara and
     Ector Barrera by instrument recorded in Document No. 2013036026 of the Official Public Records of
     Montgomery County, Texas, pass at a distance of 32.17 feet an iron rod found for reference on the east line
     of said Honea Egypt Road, and continuing for a total distance of 3,915.91 feet to a ’A” iron rod found on the
     west line of the aforementioned Woodforest, Section 29, for the southeast corner of said 16.018 Acre Tract,
     same being the northeast corner of the herein described tract;

     Thence, S 00°08’28” E, along the west line of said Woodforest, Section 29, a distance of 976 15 feet to the
     POINT OF BEGINNING and containing 72.9553 acres or 3,177,934 square feet of land, more or less.

                                                            James E Moseley
                                                            Registered Professional Land Surveyor,
                                                            No. 5912
                                                            Job No. 22-00902
                                                            March 1, 2022




        See Drawing Attached
Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 5 of 6




                                                           !.
Case 25-30155 Document 56-4 Filed in TXSB on 04/24/25 Page 6 of 6




    STATE OF TEXAS                                §
                                                  §

                                                  $
    COUNTY OF MONTGOMERY                          §


    A TRACT OR PARCEL OF LAND CONTAINING 72.9553 ACRES, (3,177,934 SQUARE FEET),
    SITUATED IN THE MATTHEW CARTWRIGHT SURVEY, ABSTRACT NUMBER 151, AND THE
    ARCHIBALD HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, SAID
    72.9553 ACRE TRACT OF LAND BEING THAT CERTAIN CALLED 72 9553 ACRE TRACT OF
    LAND AS CONVEYED TO ERIC C OSTRANDER AND WIFE, DARLA OSTRANDER BY
    INSTRUMENT RECORDED IN DOCUMENT NO 2009-064117 OF THE OFFICIAL PUBLIC
    RECORDS OF MONTGOMERY COUNTY, TEXAS, AND BEING MORE PARTICULARLY
    DESCRIBED BY METES AND BOUNDS AS FOLLOWS: (BEARING BASIS: DOCUMENT NO 2009-
    064117 OF THE OFFICIAL PUBLIC RECORDS OF MONTGOMERY COUNTY, TEXAS).

    BEGINNING at a 5/8” iron rod found on the north line of that certain called 67.452 acre tract of land as
    conveyed to Montgomery Trace Property Owners Association by instrument recorded in Document No.
    2010-007229 of the Official Public Records of Montgomery County, Texas, for a corner of Woodforest,
    Section 29, a subdivision in Montgomery County, Texas, according to the map or plat thereof recorded in
    Cabinet Z, Sheet 2438, of the Map Records of Montgomery County, Texas, same being the southeast
    comer and the POINT OF BEGINNING of the herein described tract;

    Thence, N 89’45’07” W, along the north line of said 67.452 Acre Tract, a distance of 1,348 18 feet to a
    capped, (Precision Surveyors), iron rod set for the northwest comer of said 67 452 Acre Tract, same being
    the northeast comer of Lot 30, Block 1, Montgomery Trace, Section 4, a subdivision in Montgomery
    County, Texas, according to the map or plat thereof recorded in Cabinet J, Sheet 131, of the Map Records
    of Montgomery County, Texas, same being a corner of the herein described tract;

     Thence, N 89’49’39” W, along the north line of said Montgomery Trace, Section 4, pass at a distance of
     2438.43 feet an iron rod found for reference at the northwest comer of Lot 1, Block 1, of said Montgomery
     Trace, Section 4, pass at a distance of 2448.64 feet the east line of Honea Egypt Road, a 60 foot wide road
     easement, and continuing for a total distance of 2478.64 feet to a point on the centerline of Honea Egypt
     Road for the southwest corner of the herein described tract;

     Thence, N 03’40’36” W, along the centerline of Honea Egypt Road, a distance of 1 1 9.01 feet to a P. K
     Nail set for an angle point in the centerline of Honea Egypt Road, same being a corner of the herein
     described tract;

     Thence, N 05’23’38” W, along the centerline of Honea Egypt Road, a distance of 470.21 feet to the point
     of curvature of a curve to the left;

     Thence, Northwesterly, along the centerline of Honea Egypt Road, with the arc of said curve to the left,
     having an included angle of 21 ’27’01”, a radius of 231.06 feet, a chord that bears, N 16’07’08” W, a chord
     distance of 86.00 feet, for an arc length of 86 50 feet to a point for the southwest corner of that certain
     called 10 0 acre tract of land as conveyed to The Cathedral of Our Lady of Walsingham by instrument
     recorded in Document No. 2019-065917 of the Official Public Records of Montgomery County, Texas,
     same being the northwest corner of the herein described tract;

     Thence, N 85’42’15” E, in part along the common line of said 10 0 Acre Tract, the common line of that
     certain called 13.3145 acre tract of land as conveyed to The Cathedral of Our Lady of Walsingham by
     instrument recorded in Document No. 2019-065917 of the Official Public Records of Montgomery County,
     Texas and the common line of that certain called 16 018 acre tract of land as conveyed to Justin Hasara and
     Ector Barrera by instrument recorded in Document No 2013036026 of the Official Public Records of
     Montgomery County, Texas, pass at a distance of 32. 1 7 feet an iron rod found for reference on the east line
     of said Honea Egypt Road, and continuing fora total distance of 3,915.91 feet to a 14” iron rod found on the
     west line of the aforementioned Woodforest, Section 29, for the southeast corner of said 16 018 Acre Tract,
     same being the northeast corner of the herein described tract;

     Thence, S 00’08’28” E, along the west line of said Woodforest, Section 29, a distance of 976.15 feet to the
     POINT OF BEGINNING and containing 72 .9553 acres or 3,177,934 square feet of land, more or less

                                                            James E. Moseley
                                                            Registered Professional Land Surveyor,
                                                            No. 5912
                                                            Job No. 22-00902
                                                            March 1. 2022




         See Drawing Attached
